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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

                                               :
Sharonda Thomas,                               :
                                               :
                                               : Civil Action No.: 2:13-cv-03175-TON
                       Plaintiff,              :
       v.                                      :
                                               :
GE Capital Retail Bank; and DOES 1-10,         :
inclusive,                                     :
                                               :
                       Defendants.             :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                  DISMISSAL OF ACTION WITHOUT PREJUDICE
                          PURSUANT TO RULE 41(a)


       Sharonda Thomas (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint
and voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P.
41(a)(1)(A)(i).

Dated: July 25, 2013

                                                Respectfully submitted,

                                                PLAINTIFF, Sharonda Thomas

                                                 /s/Jody B. Burton

                                                Jody B. Burton, Esq.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 25, 2013, a true and correct copy of the foregoing Notice of

Withdrawal was served electronically by the U.S. District Court for the Eastern District of

Pennsylvania Electronic Document Filing System (ECF) and that the document is available on

the ECF system.


                                             By /s/Jody B. Burton
                                                   Jody B. Burton
